Case 20-13138-pmm               Doc 65    Filed 05/23/23 Entered 05/23/23 16:31:51               Desc Main
                                         Document      Page 1 of 9

                                               L.B.F. 3015.1

                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

In re: Marilyn Crowell                             Chapter         13

                                                   Case No.         20-13138_

                    Debtor(s)
                                           Chapter 13 Plan

            Original
           X 7th            Amended

Date:     5/23/23

                                THE DEBTOR HAS FILED FOR RELIEF UNDER
                                 CHAPTER 13 OF THE BANKRUPTCY CODE

                                    YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
This Plan may be confirmed and become binding, unless a written objection is filed.

                    IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                    MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                 NOTICE OF MEETING OF CREDITORS.

 Part 1: Bankruptcy Rule 3015.1(c) Disclosures

          Plan contains non-standard or additional provisions – see Part 9
          Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
          Plan avoids a security interest or lien – see Part 4 and/or Part 9

 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY
 CASE
        § 2(a) Plan payments (For Initial and Amended Plans):

          Total Length of Plan: 60          months.

          Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ _ 56,689.00    _
          Debtor shall pay the Trustee $         _ per month for     _ months and then
          Debtor shall pay the Trustee $        _ per month for the remaining         months;
                                                     or
          Debtor shall have already paid the Trustee $ 31,714.00_ through month number _33 and
          then shall pay the Trustee $ 925.00_ per month for the remaining 27_ months.

             Other changes in the scheduled plan payment are set forth in § 2(d)




                                                      1
Case 20-13138-pmm            Doc 65      Filed 05/23/23 Entered 05/23/23 16:31:51         Desc Main
                                        Document      Page 2 of 9

     § 2(b) Debtor shall make plan payments to the Trustee from the following sources in
 addition to future wages (Describe source, amount and date when funds are available, if known):



     § 2(c) Alternative treatment of secured claims:
         X None. If “None” is checked, the rest of § 2(c) need not be completed.

             Sale of real property
             See § 7(c) below for detailed description

              Loan modification with respect to mortgage encumbering property:
             See § 4(f) below for detailed description

     § 2(d) Other information that may be important relating to the payment and length of Plan:


     § 2(e) Estimated Distribution:
        A. Total Priority Claims (Part 3)
              1.   Unpaid attorney’s fees                               $1,500.00
              2.   Unpaid attorney’s costs                              $ 0.00
              3.   Other priority claims (e.g., priority taxes)         $ 12,245.30
        B.              Total distribution to cure defaults (§ 4(b))    $ 21,571.00
        C. Total distribution on secured claims (§§ 4(c) &(d))          $ 0.00
        D. Total distribution on general unsecured claims(Part 5) $ 15,703.80
                                              Subtotal                  $ 51,020.10
        E.              Estimated Trustee’s Commission                   $5,668.90
        F.              Base Amount                                      $ 56,689.00



     §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

         By checking this box, Debtor’s counsel certifies that the information contained in
 Counsel’s Disclosure of Compensation [Form B2030] is accurate, qualifies counsel to receive
 compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel’s
 compensation in the total amount of $ 4,000.00       , with the Trustee distributing to counsel the
 amount stated in §2(e)A.1. of the Plan. Confirmation of the plan shall constitute allowance of the
 requested compensation.




                                                         2
Case 20-13138-pmm              Doc 65      Filed 05/23/23 Entered 05/23/23 16:31:51                        Desc Main
                                          Document      Page 3 of 9


Part 3: Priority Claims




  § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the
creditor agrees otherwise.

  Creditor                                 Claim Number          Type of Priority            Amount to be Paid by
                                                                                             Trustee
 Jeanne Marie Cella, Esquire                                   Legal Fees                     $1,500.00
 Springfield Township                        5                 Taxes (pre-petition and post- $12,245.30
                                                               petition total paid by Trustee
                                                               – no further payment due)




   § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than
full amount.
      X None. If “None” is checked, the rest of § 3(b) need not be completed.



          The allowed priority claims listed below are based on a domestic support obligation that has been
 assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan
 provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


   Name of Creditor                                    Claim Number         Amount to be Paid by Trustee




                                                           3
Case 20-13138-pmm                  Doc 65        Filed 05/23/23 Entered 05/23/23 16:31:51                           Desc Main
                                                Document      Page 4 of 9


Part 4: Secured Claims




      § 4(a) Secured Claims Receiving No Distribution from the Trustee:
        X None. If “None” is checked, the rest of § 4(a) need not be completed.
  Creditor                                                        Claim      Secured Property
                                                                  Number
      If checked, the creditor(s) listed below will receive no distribution
  from the trustee and the parties’ rights will be governed by agreement
  of the parties and applicable nonbankruptcy law.




      If checked, the creditor(s) listed below will receive no distribution
  from the trustee and the parties’ rights will be governed by agreement
  of the parties and applicable nonbankruptcy law.




        § 4(b) Curing default and maintaining payments
            None. If “None” is checked, the rest of § 4(b) need not be completed.


     The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and,
  Debtor shall pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance
  with the parties’ contract.

    Creditor                               Claim Number          Description of Secured               Amount to be Paid by
                                                                 Property and Address, if             Trustee
                                                                 real property

  PNC Mortgage                                   6              207 Sunnybrook Rd, Springfield, PA   $17,975.01
                                                                19064

  Delaware County Tax Bureau                     12             207 Sunnybrook Rd, Springfield, PA   $3,595.99
                                                                19064




                                                                    4
Case 20-13138-pmm               Doc 65       Filed 05/23/23 Entered 05/23/23 16:31:51                          Desc Main
                                            Document      Page 5 of 9

       § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-
 confirmation determination of the amount, extent or validity of the claim
        X None. If “None” is checked, the rest of § 4(c) need not be completed.

         (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion
 of payments under the plan.

            (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
 determine the amount, extent or validity of the allowed secured claim and the court will make its determination
 prior to the confirmation hearing.

         (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
 unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

           (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
 interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided for
 “present value” interest, the claimant must file an objection to confirmation.

          (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and
 release the corresponding lien.

                             Claim       Description of          Allowed       Present     Dollar           Amount to
  Name of Creditor           Number      Secured                 Secured       Value       Amount of        be Paid by
                                         Property                Claim         Interest    Present          Trustee
                                                                               Rate        Value
                                                                                           Interest




      § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
      X None. If “None” is checked, the rest of § 4(d) need not be completed.

     The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase
 money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1
 year of the petition date and secured by a purchase money security interest in any other thing of value.

       (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of
 payments under the plan.

          (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different interest
 rate or amount for “present value” interest in its proof of claim, the court will determine the present value interest
 rate and amount at the confirmation hearing.

                             Claim       Description of          Allowed    Present     Dollar Amount      Amount to
  Name of Creditor           Number      Secured                 Secured    Value       of Present         be Paid by
                                         Property                Claim      Interest    Value Interest     Trustee
                                                                            Rate




                                                             5
Case 20-13138-pmm              Doc 65       Filed 05/23/23 Entered 05/23/23 16:31:51                         Desc Main
                                           Document      Page 6 of 9


      § 4(e) Surrender
        X None. If “None” is checked, the rest of § 4(e) need not be completed.

             (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
             (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property
 terminates upon confirmation of the Plan.
             (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

  Creditor                               Claim Number           Secured Property




      § 4(f) Loan Modification
        X None. If “None” is checked, the rest of § 4(f) need not be completed.
         (1) Debtor shall pursue a loan modification directly with                      or its successor in interest or
  its current servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage
  claim.

        (2) During the modification application process, Debtor shall make adequate protection payments directly
  to Mortgage Lender in the amount of $           per month, which represents                        (describe
  basis of adequate protection payment). Debtor shall remit the adequate protection payments directly to the
  Mortgage Lender.

        (3) If the modification is not approved by              (date), Debtor shall either (A) file an amended
  Plan to otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief
  from the automatic stay with regard to the collateral and Debtor will not oppose it.


 Part 5: General Unsecured Claims

      § 5(a) Separately classified allowed unsecured non-priority claims
        X None. If “None” is checked, the rest of § 5(a) need not be completed.

                                          Basis for Separate
  Creditor             Claim Number       Classification          Treatment                   Amount to be
                                                                                              Paid by Trustee




      § 5(b) Timely filed unsecured non-priority claims
            (1) Liquidation Test (check one box)
                    All Debtor(s) property is claimed as exempt.
                X Debtor(s) has non-exempt property valued at $15,663.00 for purposes of § 1325(a)(4) and plan
 provides for distribution of $15,663.00 to allowed priority and unsecured general creditors.

             (2) Funding: § 5(b) claims to be paid as follows (check one box):
                X Pro rata
                  100%
                  Other (Describe)



                                                            6
Case 20-13138-pmm               Doc 65       Filed 05/23/23 Entered 05/23/23 16:31:51                         Desc Main
                                            Document      Page 7 of 9


 Part 6: Executory Contracts & Unexpired Leases


      X None. If “None” is checked, the rest of § 6 need not be completed.

  Creditor                        Claim Number       Nature of              Treatment by Debtor Pursuant to §365(b)
                                                     Contract or
                                                     Lease




 Part 7: Other Provisions


      § 7(a) General principles applicable to the Plan
         (1) Vesting of Property of the Estate (check one box)
                 X Upon confirmation
                     Upon discharge

          (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its
 proof of claim controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

         (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under §
 1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements to creditors
 shall be made by the Trustee.

          (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is
 the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will
 be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
 creditors, or as agreed by the Debtor and the Trustee and approved by the court.

     § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s
 principal residence

         (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such
 arrearage.

          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage
 obligations as provided for by the terms of the underlying mortgage note.

         (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole
 purpose of precluding the imposition of late payment charges or other default-related fees and services based on
 the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
 terms of the mortgage and note.

          (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the
 Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder
 of the claims shall resume sending customary monthly statements.

         (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon
 books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
 book(s) to the Debtor after this case has been filed.

          (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as
 set forth above.



                                                             7
Case 20-13138-pmm             Doc 65       Filed 05/23/23 Entered 05/23/23 16:31:51                         Desc Main
                                          Document      Page 8 of 9


     § 7(c) Sale of Real Property
       X None. If “None” is checked, the rest of § 7(c) need not be completed.

         (1) Closing for the sale of                                 (the “Real Property”) shall be completed
 within      months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise
 agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paid in
 full under §4(b)(1) of the Plan at the closing (“Closing Date”).

         (2) The Real Property will be marketed for sale in the following manner and on the following terms:




         (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all
 customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to
 convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
 seeking court approval of the sale pursuant to 11 U.S.C. §363, either prior to or after confirmation of the Plan, if,
 in the Debtor’s judgment, such approval is necessary or in order to convey insurable title or is otherwise
 reasonably necessary under the circumstances to implement this Plan.

        (4) At the Closing, it is estimated that the amount of no less than $                  shall be made
 payable to the Trustee.

        (5) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the
 Closing Date.

         (6) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale
````
  Deadline: _.




 Part 8: Order of Distribution

 The order of distribution of Plan payments will be as follows:

      Level 1: Trustee Commissions*
      Level 2: Domestic Support Obligations
      Level 3: Adequate Protection Payments
      Level 4: Debtor’s attorney’s fees
      Level 5: Priority claims, pro rata
      Level 6: Secured claims, pro rata
      Level 7: Specially classified unsecured claims
      Level 8: General unsecured claims
      Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

 *Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
 not to exceed ten (10) percent.




                                                           8
Case 20-13138-pmm              Doc 65      Filed 05/23/23 Entered 05/23/23 16:31:51                       Desc Main
                                          Document      Page 9 of 9



 Part 9: Non Standard or Additional Plan Provisions

    Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable
    box in Part 1 of this Plan is checked. Nonstandard or additional plan provisions placed elsewhere in the Plan
    are void.
    X
       None. If “None” is checked, the rest of Part 9 need not be completed.




   By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no
 nonstandard or additional provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and
 consent to the terms of this Plan.




 Date:   5/23/23                                            /s/ Jeanne Marie Cella, Esq
                                                            Attorney for Debtor(s)


         If Debtor(s) are unrepresented, they must sign below.



 Date:
                                                            Debtor


 Date:
                                                            Joint Debtor




                                                     -9-
